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bmoats @hackerlaw.net

 

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF WYOMING

 

DELSA BROOKE SANDERSON, )
Plaintiff, ;

vs. Civil Action No. | 0-CV-) G AL
WYOMING HIGHWAY PATROL,
STATE OF WYOMING, )
Defendant. :

 

COMPLAINT

 

Plaintiff Delsa Brooke Sanderson, by and through her attorney of record, complains as

follows:
PARTIES

l. Plaintiff Delsa Brooke Sanderson is a citizen of Wyoming, who presently resides in
Laramie, Wyoming. Sanderson at all times relevant to this complaint was a trooper with the
Wyoming Highway Patrol, and continues to serve as a trooper.

2. Defendant State of Wyoming has established and operates the Wyoming Highway
Patrol as part of the Wyoming Department of Transportation.

JURISDICTION

3. Jurisdiction is asserted pursuant to Title VII of the Civil Rights Act of 1964, 42
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U.S.C. § 2000e-5.

4. Defendant is an employer within the meaning of Title VII.

5. The alleged unlawful employment practices took place within the State of Wyoming,
primarily Laramie County, Wyoming.

ADMINISTRATIVE PROCEDURES

6. Plaintiff filed a charge of discrimination with the Equal Employment Opportunity
Commission or other appropriate administrative agency on October 27, 2016, regarding the alleged
discriminatory conduct by Defendant.

7. Plaintiff received from the U.S. Department of Justice a Notice of Right to Sue on
November 27, 2017. (A copy of the Notice of Right to Sue is attached.)

FACTS APPLICABLE TO ALL CLAIMS

8. Plaintiff Delsa Brooke Sanderson, commonly known by her middle name Brooke,
started with the Wyoming Highway Patrol on December 27, 2007. She is currently one of
approximately six females among the 220 officers.

9. Sanderson became one of the most productive members of Division J in Laramie,
Wyoming. She was nominated for Trooper of the Year in 2014, and was given a Colonel’s
Commendation Award.

10. Sanderson overcame skepticism and outright hostility by co-workers and supervisors
because she is a female at the ultimate law enforcement agency in Wyoming. She was subjected to
numerous complaints that were not directed at her male colleagues. She was the subject of constant
rumors that she was involved in sexual affairs and was guilty of behavior of a sexual nature. One

rumor accused Sanderson of having sexual relations with a supervisor after she was given a new

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patrol car. Male troopers called Sanderson the “division bicycle” while stationed in Laramie, i.e.,
“everybody has ridden her.”

11. Sanderson’s outstanding performance led Patrol officials to encourage her to apply
for a K9 position (explosives bomb dog handler) in Division O, which is the executive protection
detail responsible for providing security for Governor Matt Mead and other state government
officials. She earned the position in a competitive hiring process.

12. Sanderson was the first female K9 handler in the Patrol’s 84-year history. Rumors
again circulated that Sanderson had been selected for the prestigious and coveted position because
she is a woman, and used it to her advantage.

13. Sanderson was warned by Maj. Perry Jones, now retired, that there were some who
objected to her being selected because she was a female.

14. She began work at the division in May of 2015, and completed a 30-day trial period
designed to determine if she was a good fit. The assignment was made permanent upon her
successful completion of the trial period.

15. | Capt. Tom Stroker was the captain overseeing the division, while the lieutenant
position was assigned to Lt. Tonya Dove when Sanderson arrived. Dove was not actively
supervising at the time. Trooper Clay Barker was the interim supervisor.

16. George Nykun was named the lieutenant in Division O and became Sanderson’s
direct supervisor in June of 2015.

17. Sanderson was also directly supervised by Lt. KC Ramsey and Captain Josh Walther
as a member of the Patrol’s K9 team.

18. Colonel Kebin Haller was named the new administrator of the Patrol in September

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of 2015, about five months into Sanderson’s tenure in Division O.

19. Capt. Jim Thomas took over leadership of the K9 team on or about November 30,
2015, in a reorganization of the team. He became Sanderson’s supervisor about seven months into
her tenure. Capt. Thomas was located in Rock Springs. Members of the team are stationed
throughout the state.

20. Sanderson was not treated the same as other K9 team members. Only one member
of the team, Josh Hardee, sent her a note acknowledging her selection, and he was no longer with
the team at the time. Only one member of the K9 team attended her internal certification and he had
to be there as one of the certifying officials. No one from the agency attended her external
certification. At a national conference in San Diego, California, held J anuary 24-29, 2016, she was
not made to feel a part of the team. On one occasion, Sanderson walked up to team members sitting
at a table and greeted them. They ignored her. In contrast, Jay Carlson, a male dog trainer and
instructor at the conference, walked up soon afterward and received a warm greeting.

21. Ata K9 in-service in Cheyenne in February of 2016, Sanderson was not informed
where the training would take place each day as the location varied. She had to constantly attempt
to contact team members to learn the locations.

22. In Division O, Sanderson was not treated in the same manner as Josh Hardee and Eric
Shoden, both males, who joined the Division close to the same time Sanderson joined. Sanderson
was told that there was equipment specific to Division O available for her and she had to obtain them
on her own. She purchased her badge holder and gun holster. Later, Shoden and Hardee were
provided with the equipment. She was given a state trooper windbreaker jacket, which came to her

knees and covered all her gear. She was told that was the only one available. Shoden was later

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provided a jacket that fit.

23. Division O troopers would ignore her in informal interactions and would even decline
to acknowledge her greeting. During Cheyenne Frontier Days in July, a reception was held at the
Govenor’s Mansion. Sanderson walked up to two members of the team and greeted them. They did
not return her greeting, acting as if she did not exist. Both eventually walked away without saying
a word.

24. Despite the challenges, Sanderson excelled in training and handling her K9. The
trainer hired by the Patrol, Mark Rispoli, stated publicly that he would put up Sanderson’s dog
against any dog in the country. Sanderson was well received by state officials, legislators and capitol
staff. Her supervisors also told Sanderson she was doing a great job in conversations in December
of 2015 and early 2016.

25. OnFebruary 18, 2016, Sanderson was at a training with K9 member J eremy Beck and
Brandon Deckert, and trainer Mark Rispoli, in the storage area of a local business. Rispoli and
Sanderson were bantering during the training and she jokingly told him that he should stop acting
like an “asshole.” That night the team went to dinner, but she was not told of the dinner.

26. | Upon information and belief, Beck and/or Deckert complained that Sanderson had
cursed at Rispoli. The next morning on February 19, 2016, the team gathered for the final session
for debriefing. When Sanderson arrived, Col. Haller immediately approached her and said he needed
to talk to her immediately. They went into another room. Capt. Thomas was present.

27. Col. Haller angrily stood within a few inches of her face, pointing his finger at her
chest and yelling that she was the problem and that she needed to fix herself. He accused Sanderson

of unprofessionally insulting Rispoli. Sanderson tried to explain that they were bantering, but he was

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not interested in hearing her explanation. She asked Haller what he wanted her to do, and he said
she needed to apologize to Rispoli, Beck and Deckert. She did so.

28. Deckert responded that she did not need to apologize as members of the Patrol often
banter with each other in the manner that she and Rispoli were bantering.

29. Sanderson spoke with Capt. Thomas at the meeting and asked if she was going to lose
her dog handler position. He responded that would depend on how she conducted herself in the
future, but he said she would definitely be informed before it happened.

30. Sanderson complained to Capt. Thomas about her unequal treatment by the other
handlers and asked how long she would have to put up with it. Thomas was present when she
discussed similar complaints to fellow handler, Jeremy Beck, during her apology to him. She had
complained earlier to Capt. Thomas about her treatment at the training in San Diego in J anuary of
2016.

31. Sanderson had similar conversations in 2015 and early 2016 with her supervisors in
Division O. She asked how long she had to put up with the unequal treatment. Sanderson also
discussed and sent emails to her Division O supervisors in the summer of 2015, requesting that she
be trained in the same manner as the other two newly-hired Division team members. She also
complained late in 2015 about not being allowed to train with her K9 effectively because of the
schedule. Complaints by fellow troopers had led to her being removed as a “rover” on the schedule,
which had allowed her to train consistently.

32. During Sanderson’s time at Division O, there were rumors that Capt. Stoker had
engaged in inappropriate sexual text messaging with Sanderson. The rumors were prevalent enough

that Capt. Stoker approached Sanderson about hearing the rumors at one point. He asked her if she

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believed he had sent inappropriate texts of a sexual nature. Sanderson responded he had not.
33. | Rumors circulated within the Patrol that Capt. Stroker was later removed as captain
of Division O because the alleged texting might come to light.

34. About two months later, on April 15, 2016, Sanderson was called to a meeting with
her supervisors. She was issued a letter of expectations by her supervisors. Before they could finish
going through the letter, she was called to Haller’s office and given a letter involuntarily reassigning
her from the Division O and the K9 handler position.

35. The letters are nearly identical and lead with the in-service incident. They also allege
other incidences where she was allegedly unable to get along with people. No other incidents cited
in the letter occurred between the in-service incident and the issuance of the letters of expectation
and involuntarily reassignment.

36. Sanderson was not and has not been allowed to see the documentation cited in the
letters as supporting the allegations contained therein.

37. _ Bantering, such as what took place with Rispoli, is common in law enforcement and
is seen as a part of building camaraderie. Male troopers constantly engage in such banter without
any disciplinary consequences. Rispoli later wrote an email backing up that he and Sanderson had
a relationship where they could banter.

38. | Sanderson was not given an opportunity to present her side of the story before being
issued the Letter of Expectations and Involuntary Reassignment back-to-back. She had no
opportunity to correct any deficiencies alleged by her supervisor in contradiction to the aim of the
State’s employee evaluation system.

39. The letters claim that the other dog handlers, all male, preferred not to work with her

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and blame Sanderson solely for the alleged attitude of her male colleagues.

40. The incidents, other than the in-service incident, cited in the letters were from the year
prior. These allegations were either found previously to have been resolved without any action
against Sanderson or they were never brought to Sanderson’s attention.

41. The Patrol has a system called “Guardian Tracking” where all complaints and the
outcome are to be recorded. None of these incidents were included in “Guardian Tracking” until
after the letters were issued and Sanderson pointed out in a grievance that they had not been recorded
in the system. The allegations lack merit and are pre-textual.

42. None of these incidents were mentioned in Sanderson’s midterm evaluation. In fact,
her immediate supervisor told her a few weeks prior to the letter of expectations that she was doing
a great job.

43. Josh Hardee, a male, was placed in Sanderson’s dog handler position. Jeremy Beck
was placed in a new position as an explosives dog handler that was created after Sanderson was
reassigned.

44. Sanderson was given a “needs improvement” for poor judgment in her 2016
personnel evaluation. The rating is based on the same allegations as the reassignment, and is a
continuation of the discrimination/retaliation against Sanderson. Sanderson received a superior
rating from her supervisor in 2017.

45. Sanderson suffered a reduction in pay because of her reassignment, as well as lost
opportunity for additional overtime. She further suffered humiliation, embarrassment, and loss of

enjoyment of life because of Defendants’ discriminatory and retaliatory actions.

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FIRST CLAIM FOR RELIEF
GENDER DISCRIMINATION

46. Plaintiff realleges and restates paragraphs 1 - 45 above.

47. Defendant subjected Sanderson to adverse employment actions by disciplining her
and involuntarily reassigning her from her dog handler position with Division O.

48.  Sanderson’s gender was a motivating factor in the disciplinary action and
reassignment.

49. The reasons given for the letter of expectations and the letter of reassignment were
pretextual.

50. Sanderson suffered monetary damage due to lost salary and benefits because of
Defendant’s unlawful actions. She further suffered humiliation, embarrassment, and loss of
enjoyment of life because of Defendant’s unlawful actions.

SECOND CLAIM FOR RELIEF
HOSTILE ENVIRONMENT BASED ON GENDER

31. __ Plaintiff realleges and restates paragraphs 1 - 50 above.

52. Sanderson was subjected to unwelcome and unwanted harassment because she is a
female in a male-dominated agency and the first female dog handler ever in the Patrol. She was
ignored, isolated, treated differently, subjected to rumors of sexual misconduct and the target of
unfair and unwarranted complaints and discipline.

53. The harassment was both objectively and subjectively offensive, such that a
reasonable person would find it hostile or abusive and Sanderson in fact did perceive it to be so.

54. The harassment was sufficiently severe or pervasive so as to alter the conditions of

her employment and create an abusive working environment.

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55. Her supervisors either knew or should have known of the harassment, as she
complained to her supervisors.

56. Her supervisors failed to take prompt and appropriate remedial action, and instead
joined in the discriminatory actions against her.

57. Sanderson suffered monetary damage due to lost salary and benefits because of
Defendant’s unlawful actions. She further suffered humiliation, embarrassment, and loss of
enjoyment of life because of Defendant’s unlawful actions.

THIRD CLAIM
TITLE VII RETALIATION

58. Plaintiff realleges and restates paragraphs 1 - 57 above.

59. Sanderson undertook protected activity when she complained to Capt. Thomas and
her Division O supervisors about unequal treatment by her all-male colleagues on the dog team and
Division O.

60. Defendant took adverse action against Sanderson by disciplining and reassigning her.

61. Defendant was motivated by her protected activity to take the adverse actions against
her.

62. Sanderson suffered monetary damage due to lost salary and benefits because of
Defendant’s retaliatory actions. She further suffered humiliation, embarrassment, and loss of
enjoyment of life because of Defendant’s retaliatory actions.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for a judgment against Defendant as follows:

1. That the Court grant full front pay to the Plaintiff in an amount determined at trial;

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2. That the Court grant full back pay to the Plaintiff in an amount determined at trial:

a That the Court grant Plaintiff compensatory damages for the humiliation, emotional
distress, and other damages caused by Defendant’s unlawful conduct;

4, That the Court grant Plaintiff all employment benefits she would have enjoyed had
she not been discriminated and retaliated against;

5. That the Court grant Plaintiff expenses of litigation, including reasonable attorneys’
fees, pursuant to the Title VII, and/or 42 U.S.C. § 1988;

6. That the Court grant temporary, preliminary, and permanent injunctive relief
prohibiting Defendants from engaging in further discriminatory conduct; and,

7. That the Court grant Plaintiff all other relief the Court deems just and proper.

DATED this 22" day of January, 2018.

Delsa Brooke Sanderson, Plaintiff

By: fuced). Va G

Bruce T. Moats (Wyo. Bar No. 5-3077)
Attorney for Plaintiff

 

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U.S. Department of Justice
Civil Rights Division
NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

CERTIFIED MAIL 950 Pennsylvania Avenue, N.W.

9 Karen Ferguson, EMP, PHB, Room 4701
7003 0500 0002 5071 5618 Washington, DC.20530

October 19, 2017

 

 

Ms. Delsa Brooke Sanderson
c/o Bruce T. Moats, Esquire
Law Office of Bruce T. Moats
2515 Pioneer Ave.

Cheyenne, WY 82001

Re: EEOC Charge Against Wyoming Highway Patrol
No. 541201700076

Dear Ms. Sanderson:

Because you filed the above charge with the Equal Employment Opportunity Commission, and
more than 180 days have elapsed since the date the Commission assumed jurisdiction over the charge,
and no suit based thereon has been filed by this Department, and because you through your attorney
have specifically requested this Notice, you are hereby notified that you have the right to institute a
civil action under Title VH of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq.,
against the above-named respondent.

If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.

The investigative file pertaining to your case is located in the EEOC Denver District Office,
Denver, CO.

This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.

Sincerely,

John M. Gore
Acting Assistant Attorney General
Civjl Rights Division

C eqn

Karen L. Ferguson
Supervisory Civil Rights Analyst
Employment Litigation Section

 

cc: Denver District Office, EEOC
Wyoming Highway Patrol

Sanderson, Brooke 000353
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November 27, 2017 at 12:44 pm
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November 27, 2017 at 12:44 pm
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November 27, 2017, 12:44 pm

Delivered, Front Desk/Reception

CHEYENNE, WY 82001

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November 24, 2017, 9:50 am
In Transit to Destination
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November 23, 2017, 7:50 pm
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October 25, 2017, 9:13 am
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October 24, 2017, 2:13 am
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